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`                                               U.S. Department of Justice

                                                United States Attorney
                                                Southern District of New York

                                                     November 17, 2021
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
BY EMAIL                                            New York, New York 10007


                                                January 28, 2022
By ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       The Government respectfully submits this letter in response to the Court’s Order dated

January 26, 2022 regarding the redaction of a witness’s name in one court exhibit. (Dkt. No. 584).

The Government does not seek to redact the last name of the witness who testified as Carolyn in

Court Exhibit 2, because Carolyn publicly disclosed her full name in a post-trial interview with

the Daily Mail, in which she identified herself as the witness who had testified under the name

Carolyn at trial, and stated that she waived her right to anonymity. The Government notified

Carolyn through her counsel that it intended to take this position and Carolyn’s counsel has

confirmed that Carolyn does not object to her last name being used in filings going forward.




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                                          Respectfully submitted,

                                          DAMIAN WILLIAMS
                                          United States Attorney


                                    By:       s/
                                          Maurene Comey
                                          Alison Moe
                                          Lara Pomerantz
                                          Andrew Rohrbach
                                          Assistant United States Attorneys
                                          Southern District of New York

Cc: Defense Counsel (by ECF)




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